                   Case: 25-1573
                   UNITED  STATES Document:
                                  COURT OF15   Page: FOR
                                            APPEALS  1   Date
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                                                              THIRD 04/11/2025
                                                                      CIRCUIT

                                                No. 25-1573

                       Atlas Data Privacy Corporation, et al. vs. i360 LLC


                                             ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:
 i360 LLC


Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)             ✔ Appellant(s)
                                       ____                              ____ Intervenor(s)

         ____ Respondent(s)            ____ Appellee(s)                  ____ Amicus Curiae

(Type or Print) Counsel’s Name Richard J.L. Lomuscio
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SIGNATURE OF COUNSEL: /s/ Richard J.L. Lomuscio

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REV. 10/20/2020
